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                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA

 VIASAT, INC.                         )             Case No. 3:16-463-BEN-JMA
 a Delaware corporation,              )
      Plaintiff and Counter-Defendant,)             Notice of Withdrawal of Document
                                      )             No. 126 filed on February 19, 2018
 v.                                   )
                                      )             Hon. Dist. Judge Roger T. Benitez
 ACACIA COMMUNICATIONS, INC.          )             Hon. Magistrate Judge Jan M. Adler
 a Delaware corporation,              )
      Defendant and Counter-Claimant. )             Case Initiated: January 21, 2016
                                      )
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                        N​OTICE OF​ W​ITHDRAWAL​ ​OF ​D​OCUMENT​ N​O. ​126 F​ILED​ ​ON​ F​EBRUARY​ 19, 2018
                                                                                          3:16-463-BEN-JMA
Case 3:16-cv-00463-BEN-JMA Document 129 Filed 02/20/18 PageID.11807 Page 2 of 3



      ViaSat, Inc. withdraws Docket No. 126, “Motion for Order by ViaSat, Inc.,” filed
  with an incorrect CM/ECF description on February 19, 2018. ViaSat filed the same
  document, with the correct CM/ECF description, as Docket No. 127.


  Dated: February 20, 2018
                                                           ______________________________
                                                            Erika H. Warren




                       N​OTICE OF​ W​ITHDRAWAL​ ​OF ​D​OCUMENT​ N​O. ​126 F​ILED​ ​ON​ F​EBRUARY​ 19, 2018
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Case 3:16-cv-00463-BEN-JMA Document 129 Filed 02/20/18 PageID.11808 Page 3 of 3



                               CERTIFICATE OF SERVICE
      I certify that on February 20, 2018, I served the foregoing document by CM/ECF
  notice of electronic filing on the parties and counsel registered as CM/ECF Users.


  Dated: February 20, 2018
                                                             ______________________________
                                                                              Erika H. Warren




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